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                                                                               U.S. DIS;';;_; ,..
                                                                           DISTRICT OF NEW HAM-SHi 1
                          UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE                                 JAN 1 8 2312

                                                                                       FILED
United States of America

      v.                                           Crim. No.         Q Q ^ C - I fr7 ' (g- J L

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                      ORDER ON VIOLATION OF CONDITIONS

     The defendant appeared before me on this date at a LASER
Review Hearing. During the course of the hearing, the court
determined that the defendant has violated the terms of the LASER
Agreement/Order on Conditions of Release. As a result, the court
enters the following order:


              The defendant shall be detained
              At the conclusion of incarceration, defendant shall be

                          rought before the undersigned judge.

                      R e l e a s e d on   / (jtcAdK Jfa^&y
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              The defendant shall reside in Hampshire House for a
              period of         days/months to commence on
                                 , and shall observe the rules of
              that facility.


              The defendant shall be placed on home detention for
                    days/months, to commence on                  .
              During this time, the defendant shall remain at his
              place of residence except for employment and other
              activities approved in advance by the probation
              officer. The defendant shall maintain a telephone at
              his place of residence without any special services,
              modems, answering machines, or cordless telephones for
              the above period. The defendant shall wear an
              electronic device and shall observe the rules specified
              by the Probation Office. The defendant shall pay for
              the cost of electronic monitoring to the extent he is
              able as determined by the probation officer.
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             The defendant shall be subject to the following
             additional or modified conditions:




        Prior conditions of release not inconsistent with this order
shall remain in full force and effect.


                                            SO ORDERED


Date:        //Y^                           Joseph
                                            Chie




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